             Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 1 of 45



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
*       *        *     *       *       *      *       *

UNITEDHEALTHCARE OF                                   *

NEW YORK, INC.                                        *

                                                      *

and                                                   *

                                                      *

OXFORD HEALTH INSURANCE, INC.,                        *

                                                      *

                                                      *

       Plaintiffs,                                    *

                                                      *

V.                                                    *
                                                             Civil Action
                                                      *
                                                             No. 17-cv-7694
MARIA T. VULLO, in her official capacity as           *

Superintendent of Financial Services of the           *

State of New York,                                    *

                                                      *

       Defendant.                                     *

                                                      *

*      *         *     *       *      *       *       *



                                            COMPLAINT

       Plaintiffs UnitedHealthcare of New York, Inc. and Oxford Health Insurance, Inc., by

their undersigned attorneys, hereby file their Complaint for Declaratory, Injunctive and Other

Relief, and state in support of this Complaint as follows:

                                           INTRODUCTION

        1.       This lawsuit arises from the emergency adoption of a New York Insurance

Regulation governing benefit plan year 2017, and the proposed adoption of a second New York

Insurance Regulation governing benefit plan years 2018 and beyond.            The two New York

regulations are unlawful and invalid under the United States Constitution, because, inter alia,

they directly violate, and undermine the purposes of the federal “risk adjustment” program

adopted pursuant to the Patient Protection and Affordable Care Act of 2010, Pub. L. No. 111-
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 2 of 45




148, 124 Stat. 119 (“ACA” or “Affordable Care Act”), codified in part at 42 U.S.C. §‘ 18001—

18 122.

          2.   The federal risk adjustment program protects sicker individuals by affording them

greater access to affordable health insurance coverage. The federal risk adjustment program

does so by ensuring that health insurance premiums reflect only the differences in benefits

provided by different insurers’ health insurance plans, not the health status of individual

enrollees. The federal program accomplishes this goal by: (a) forbidding insurers from charging

higher premiums to sicker enrollees, and (b) pursuant to a formula painstakingly designed by the

federal Government over several years, transferring funds from insurers with healthier

populations to insurers with sicker populations.

          3.   The transfer of funds from insurers with healthier populations to insurers with

sicker populations   —     i.e., the risk adjustment program   —   lays at the heart of the ACA health

care program. Those transfers are what permit an insurer to provide affordable health insurance

even if it has a sicker-than-average enrollee population.           Absent such transfers, premiums

charged to sicker populations must inevitably rise.

          4.   Under the ACA, a State is permitted to perform responsibilities with respect to

risk adjustment within its boundaries only if it obtains federal approval to do so, having satisfied

detailed requirements demonstrating that such a state-run program will be both appropriately

designed and operated.         This lawsuit arises because Defendant has violated all of these

requirements, having neither sought nor obtained federal Government approval to operate risk

adjustment in the State.

          5.   Specifically,     the   emergency   regulation      was   promulgated   by   Defendant

Superintendent of Financial Services of the State of New York on September 9, 2016 and was




                                                   2
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 3 of 45




reissued as an emergency regulation on December 7, 2016, March 6, 2017, June 21, 2017, July

31, 2017, and September 28, 2017 (the “2017 Emergency Regulation”). The 2017 Emergency

Regulation purports to dictate with respect to benefit year 2017 risk adjustment operations under

the ACA.

       6.        The proposed regulation was published in the State Register on May 3, 2017 and

purports to dictate risk adjustment operations under the ACA during benefit plan years 2018 and

thereafter (the “2018 Permanent Regulation”).

       7.        The 2017 Emergency Regulation and proposed 2018 Permanent Regulation

openly override the calculations and payment transfer methodologies of the federal “risk

adjustment” program promulgated by the United States Department of Health and Human

Services pursuant to ACA Section 1343, and purport to seize funds to be received by New York

insurers pursuant to the federal risk adjustment program, and to pay such funds to other New

York insurers.     The 2017 Emergency Regulation and, to the extent adopted or otherwise

effectuated, the 201$ Permanent Regulation, violate the United States Constitution and/or the

laws of the United States for four independent reasons:

       8.        First, the 2017 Emergency Regulation and 2018 Permanent Regulation are

invalid under the Supremacy Clause of the United States Constitution because they directly

conflict with the ACA and its implementing regulations.

       9.        Second, the 2017 Emergency Regulation and 201$ Permanent Regulation are

invalid under the Supremacy Clause of the United States Constitution because they interfere with

the purposes and goals of the ACA and its implementing regulations.

       10.       Third, the 2017 Emergency Regulation and 201$ Permanent Regulation are

invalid under the fifth and fourteenth Amendments to the United States Constitution because




                                                3
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 4 of 45




they effect an unconstitutional taking of Plaintiffs’ property, given that they provide for the

seizure from Plaintiffs of up to 30% of the money to which they are lawfully entitled under the

federal risk adjustment program calculation and payment transfer methodologies.

        11.    fottrtlt, the 2017 Emergency Regulation and 201$ Permanent Regulation are

invalid under the fifth and Fourteenth Amendments to the United States Constitution because

they effect an unlawful exaction of Plaintiffs’ property, given that they condition Plaintiffs’ right

to offer insurance in the State of New York upon Plaintiffs handing over to the State up to 30%

of the money to which they are lawfully entitled under the federal risk adjustment program’s

calculation and payment transfer methodologies.

                                             PARTIES

       12.     Plaintiff UnitedHealthcare of New York, Inc. is a corporation organized and

existing under the laws of the State of New York, with its principal place of business at 77 Water

Street, 14th floor, New York, New York 10005. UnitedHealthcare of New York, Inc. offers

insurance policies in the individual health insurance market in the State of New York, both under

and outside of the Exchange Marketplace created by the ACA.

       13.     Plaintiff Oxford Health Insurance, Inc. is a corporation organized and existing

under the laws of the State of New York, with its principal place of business at One Penn Plaza,

8th Floor, New York, New York 10119. Oxford Health Insurance, Inc. offers insurance policies

in the small group health insurance markets in the State of New York, outside of the Exchange

Marketplace created by ACA.

       14.     Defendant Maria T. Vullo is Superintendent of the New York State Department of

Financial Services (“the Superintendent”), with offices at One State Street, New York, New

York 10004, and is sued in her official capacity. The Superintendent inter atia supervises all




                                                 4
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 5 of 45




insurance companies that do business in New York, and promulgated the 2017 Emergency

Regulation and proposed 201$ Permanent Regulation.

           15.       Defendant in her official capacity resides in this judicial district because the

principal office of the Department of Financial Services of the State of New York is located in

this judicial district.

                                     JURISDICTION AND VENUE
           16.      This Court has subject matter jurisdiction over this case under 28 U.S.C. § 1331,

because the claims set forth in this action arise under the Supremacy Clause and the Fifth and

Fourteenth Amendments of the United States Constitution, and under 42 U.S.C.            § 1983, and the
inherent equity powers of this Court. The declaratory relief that Plaintiffs seek is available under

28 U.S.C.        § 2201 and 2202, and Federal Rule of Civil Procedure 57. This Court has authority
to grant the requested injunctive relief under 28 U.S.C.            § 1651(a), Federal Rule of Civil
Procedure 65, and its inherent equity powers.

           17.      This Court has jurisdiction to order prospective relief in the form of a declaratory

judgment and/or injunction against the Supervisor in her official capacity as an officer of an

agency of the State of New York.

           1$.      Venue is proper in this district pursuant to 2$ U.S.C.         § 1391(b) because
Defendant resides in this judicial district in her official capacity, and also because, on

information and belief, a substantial portion of the events giving rise to this action occurred

therein.

                                       FACTUAL STATEMENT

 I.         THE AFFORDABLE CARE ACT.

           19.      The ACA, enacted in 2010 and made fully operational January 1, 2014,

significantly changed the private healthcare market in the United States, including with respect to


                                                     5
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 6 of 45




both the individual health insurance market (the purchase and sale of health insurance other than

through an employer or public programs such as Medicare and Medicaid), and the small group

health insurance market (the purchase and sale of employee insurance by New York employers

with between 1 and 100 employees). The ACA established fora in which insurance could be

bought and sold, called Health Benefit Exchanges for the individual market and Small Business

Health Options Program Exchanges for the small group market.                 The ACA also established

requirements affecting individual market and small group market health insurance bought and

sold outside the Exchanges.

        20.    Congress included in the ACA three mtelTelated “premium stabilization

programs.” These programs are often referred to as the “3R’s”: reinsurance, risk corridors, and

risk adjustment. See ACA      § 1341—43, 42 U.S.C. § 18061—63. Reinsurance and risk corridors
operate during the “transition period” of the first three years of full ACA implementation (ending

after benefit plan year 2016), while risk adjustment is a permanent program.                45 C.F.R.

§ 153.310(e); see also Centers for Medicare and Medicaid Services, Reinsurance, Risk
Corridors,    and    Risk     Adjustment       final   Rule    4    (Mar.      2012),   available   at:

https://www .cms gov/CCI lO/Resources/Files/Downi oads/3rs-final -rule .pdf.
                 .




 H.      THE ROLE Of THE FEDERAL GOVERNMENT AND OF THE STATES
         WITH RESPECT TO THE RISK ADJUSTMENT PROGRAM.

       21.     At the federal level, the ACA is administered by the U.S. Department of Health

and Human Services (“HHS”) and its Centers for Medicare and Medicaid Services (“CMS”).

       22.     The ACA gives each state the option of running the risk adjustment program

component of the ACA, described more fully infra.             If a state chooses to run its own risk

adjustment program, it is first required to obtain HHS approval for that program, pursuant to

detailed criteria discussed infra. 45 C.F.R.   § 153.310(a)(3) and (a)(4).


                                                   6
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 7 of 45




        23.      If a state does not choose to run its own risk adjustment program, or chooses to do

so but does not obtain HHS approval for its state program, then HHS is the agency that

administers the risk adjustment program in the state. 45 C.F.R. § 153.310(a)(3) and (a)(4). HHS

regulations on that issue are clear: A state that either does not choose to operate its own risk

adjustment program or chooses to do so but does not obtain HHS approval for the state program,

“wilt forgo iinpleineittatioit of alt State fttizctio,ts” relating to risk adjustment.   45 C,F.R.

§ 153.3 10(a)(3) and (a)(4) (emphasis added).
        24.      New York neither sought nor obtained approval to operate the risk adjustment

program in the State. See, e.g., November 15, 2012 letter from Governor Cuomo to CM$ (“New

York has determined that the State will not administer the reinsurance and risk adjustment

functions in 2014 and requests federal administration of these functions.”), available at:

https:/7www.cms.gov/CCIIO/Resources[fechnical-Implernentation-Letters/Downloads/ny-

exchange-letter-2.pdf.        New York accordingly must forego all functions relating to risk

adjustment. Indeed, in a June 2$, 2016 letter to CMS, Defendant Vullo expressly acknowledged

that fact. See Letter from Maria T. Vullo to Sylvia M. Burwell and Andrew Slavitt (June 28,

2016), available at: http://www.dfs.ny.gov/about/press/prl 60909 iletter_secretary_burwell .pdf

(“Because the risk adjustment program is federally mandated and administered, the states are

unable to change its parameters or alter issuers’ associated liabilities.”).

        25.     Nonetheless, two months later, on September 9, 2016, Defendant Vullo issued the

2017 Emergency Regulation, which directly conflicts with the ACA and with HHS

implementing regulations and seeks to undermine the sole authority of HHS to administer risk

adjustment in New York. Defendant’s failure to abide by HHS requirements and limitations

gives rise to this lawsuit.




                                                   7
         Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 8 of 45




  III.     THE ACA RISK ADJUSTMENT PROGRAM.

         A.      The Purpose of Risk Adjustment.

         26.     The ACA protected relatively sicker individuals by prohibiting insurers from

charging higher premiums based upon an individual’s health status or medical history. ACA                          §
1201(2)(A); 42 U.S.C.      § 300gg-1            -    300gg-4.        Given those restrictions, an insurer might be

incentivized to seek to attract only healthy enrollees, and in any event, would be unfairly

disadvantaged if its enrollees were relatively sicker and its costs concomitantly higher.

         27.      The risk adjustment program addressed these programs by spreading financial risk

across insurers providing individual or small group health insurance in a state and by

“protect[ingJ consumers’ access to a range of robust coverage options by reducing the incentive

for insurance companies to seek only to insure healthy individuals.” Centers for Medicare and

Medicaid       Services,   The          Three       Rs.     An       Overview   (Oct.   1,   2015),   available   at:

https://www.cms.gov/Newsroom/MediaReleaseDatabase/Fact-sheets!20 15-Fact-sheets-

iterns/2015-10-01.htrnl. Risk adjustment was designed to encourage insurers to compete for

enrollees’ business based on the value and efficiency of an insurer’s particular health insurance

plan, rather than competing only for the healthiest enrollees.

         28.      Risk adjustment works as follows. Insurers with enrollees who are healthier than

the state-covered average must make payments into the risk adjustment program. Those funds

are then transferred to insurers that incur higher claim costs due to having enrollees who are

sicker than the state-covered average.                    Sections 1343(a)(1) and (2) of the ACA thus require

charges to “low actuarial risk plans” and payments to “high actuarial risk plans”:

                 [E]ach State shall assess a charge on health plans and health
                 insurance issuers [in the individual or small group market within
                 the state] .   if the actuarial risk of the enrollees of such plans or
                                .   .



                 coverage for a year is less than the average actuarial risk of all
                 enrollees in all plans or coverage in such State for such year that


                                                                 8
           Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 9 of 45




                        are not self-insured group health plans (which are subject to the
                        provisions of the Employee Retirement Income Security Act of
                        1974).

ACA        § 1343(a)(1).
                        [E]ach State shall provide a payment to health plans and health
                        insurance issuers [in the individual or small group market within
                        the state]  .  if the actuarial risk of the enrollees of such plans or
                                        .



                        coverage for a year is greater than the average actuarial risk of all
                        enrollees in all plans and coverage in such State for such year that
                        are not self-insured group health plans (which are subject to the
                        provisions of the Employee Retirement Income Security Act of
                        1974).

ACA        § 1343(a)(2).
               29.      In short, “[t]he risk adjustment program is a permanent program created by

Section 1343 of the Affordable Care Act that transfers funds from lower risk             .   .   .   plans to higher

risk   .   .   .   plans in the individual and small group markets, inside and outside the Exchanges.”

HHS, 78 fed. Reg. 15,409, 15,415 (Mar. 11, 2013),

               B.       HHS’s Development of the Federal Risk Adjustment Program and
                        Methodology, Which Provided Defendant Ample Opportunity Either to
                        Weigh In or to Adopt DFS’ Own Risk Adjustment Program.

               30.      The ACA requires the Secretary of HHS,        “in consultation with the States,” to
develop “criteria and methods” to implement the risk adjustment program. ACA                             § 1343(b).
Those criteria         “may” be “similar to” those methods used in Medicare Part C (Medicare managed
care, also known as “Medicare Advantage”) or Medicare Part D (Medicare prescription drug

benefit). Id.

               31.      following the federal Register publication for public comment of proposed

regulations on July 15, 2011, 76 fed. Reg. 41,865 (Jul. 15, 2011), HHS in March of 2012

published in the Federal Register final regulations setting forth the basic framework for the

implementation of the risk adjustment program. 77 fed. Reg. 17,219 (Mar. 23, 2012). During



                                                          9
         Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 10 of 45




the interim, in September 2011, HHS published a white paper reporting on the methodology of

the initial proposed risk adjustment model, including a “detailed technical discussion.” Center

for Consumer Information and Insurance Oversight, Risk Adjustment Implementation Issues 3

(Sept.                   12,                2011),                  available                at:

https ://www .crns .gov/CCIIO/Resources/files/Downloads/riskadj ustment_whitepaper_web.pdf.

HHS invited responses to the white paper in order to “inform the HHS-developed Federally-

certified risk adjustment methodology.” Id.     In february 2012, HHS published a bulletin to

provide information about its approach for defining actuarial value for health plans, which also

“welcom[ed] public input” and provided a way to contact the agency. CMS, Actuarial Value

and       Cost-Sharing     Reductions    Bulletin    (Feb.    24,     2012),    available    at:

https://www.cms.gov/CCIIO/Resources/filesfDownloads/Av-csr-bulletin.pdf.

          32.   Shortly after publication of the final rule in March 2012, HHS issued a new

bulletin on the risk adjustment program, which included a summary of the program and a section

focusing on “Stakeholder Communication.” CMS, Bulletin on the Risk Adjustment Program:

Proposed Operations by tite Departmnent of Health and Httman Services (May 1, 2012),

available at: https://www.crns.gov/CCJIO/Resources/Files/Downloads/ppfm-risk-adj-bul.pdf.

          33.   The bulletin acknowledged that responses to the white paper were “useful in

informing model development and the approach to data collection,” and that HHS was

“considering all comments received as [it] develop[ed] the risk adjustment methodology.” Id. at

4.    In the bulletin, HI-IS set out a schedule for engagement with stakeholders about the risk

adjustment methodology. This included a public meeting in May 2012, ongoing group calls, a

data testing session with insurers in the fall of 2012, and a reminder of the deadlines for

submitting an alternative State methodology. Id. at 11—12.




                                               10
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 11 of 45




        34.    In May of 2012, HHS held a two-day Risk Adjustment Spring Meeting to

“provide an opportunity to hear from a variety of interested parties as the federal risk adjustment

methodology is being developed,” before which stakeholders were invited to submit comments.

See 77 Fed. Reg. 21,775—76 (notice of meeting). The meeting included, among many other

presentations, a session on “State flexibility and Alternate Methodologies.” See CMS, State

Flexibility   and     Alternate     Methodologies       (May     7,    2012),     available     at:

https://www.cms.gov/CCIIO/Resources/files/Downloads/frn-le-state-flex.pdf.

        35.    After its Risk Adjustment meeting, HHS continued to release publications

designed to engage stakeholders in the development of its risk adjustment methodology. See,

e.g., CMS, Bttlletin on the Transitional Reinsurance Program (May 31, 2012), available at:

https;//www.cms.gov/CCIIO/Resources/Files/Downloads/reinsurance-program-bulletin-5-3 1-

20 12.pdf.

        36.    In late 2012, HHS published in the Federal Register for public comment its

proposed methodology for the administration of the risk adjustment program, including the

calculation of risk adjustment assessments and payments for the 2014 plan year (the first year of

ACA operations). 77 fed. Reg. 72,913, 73,118 (Dec. 7, 2012). HHS received “approximately

420 comments” from a wide variety of stakeholders, including health insurance companies,

healthcare providers, consumer and health insurance industry advocacy groups, employers, state

agencies and individuals. 78 Fed. Reg. 15,409, 15,415 (Mar. 11, 2013). HHS’s methodology for

the administration and operation of the federal risk adjustment program was published in the

Federal Register on March 11, 2013, and became final on April 30, 2013. Id. at 15,410.

        C.    The State Option to Operate Risk Adjustment, Subject to HHS Approval of
              the State Program and Methodology.

       37.    In the proposed rule, HHS provided that:



                                                11
         Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 12 of 45




                 A State approved or conditionally approved by the Secretary to
                 operate an Exchange may establish a risk adjustment program, or
                 have HHS do so on its behalf. Section 1343 of the Affordable
                 Care Act requires each State to operate a risk adjustment program.
                 In States that have elected not to operate their own risk adjustment
                 program, HHS will operate a program on their behalf.

Id. at 15,415.

          3$.    HHS also proposed that a State operating its own risk adjustment program may

use a risk adjustment methodology developed by HHS or may elect to submit an alternate

methodology to HHS for approval.         In section III.B.1 of the proposed rule, HHS proposed

standards for its approval of a State-operated risk adjustment program (regardless of whether a

State elects to use the HHS-developed methodology or an alternate, federally certified risk

adjustment methodology).        In section III.B.3 of the proposed rule, HHS described the

methodology that HHS would use when operating a risk adjustment program on behalf of a

State.     HHS proposed that States operating a risk adjustment program could use this

methodology or submit an alternate methodology, in a process described in section IILB.4 of the

proposed rule. finally, in section III.B.5 of the proposed rule, HHS described the data validation

process it proposed to use when operating a risk adjustment program on behalf of a State. These

provisions are discussed fully in the proposed rule at 77 fed Reg. at 73,123-49.

         39.     HHS in the proposed rule proposed an approval process for States seeking to

operate their own risk adjustment programs. Specifically, HHS proposed a new paragraph (c) in

§   153.310, entitled “State responsibility for risk adjustment,” which sets forth a State’s

responsibilities with regard to risk adjustment program operations. HHS proposed that if a State

is operating a risk adjustment program for a benefit year, the State must administer the program

through an entity that meets certain standards. These standards would ensure the entity has the

capacity to operate the risk adjustment program throughout the benefit year and is able to



                                                 12
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 13 of 45




administer the federally certified risk adjustment methodology the State has chosen to use. HHS

proposed in     § 153.310(d) that a State submit to HHS information that establishes that it and its
risk adjustment entity meet the criteria set forth in § 153.3 10(c).

          40.     Because of the unique timing issues for approving a State-operated risk

adjustment program, HHS in the proposed rule proposed a transitional policy for benefit year

2014. It proposed not to require that a State-operated risk adjustment program receive prior

approval for benefit year 2014.       Instead, it proposed a transitional, consultative process that

would commence shortly after the provisions of this final rule were effective. However, HHS

specifically stated that for years 2015 and thereafter, HHS approval would be required of any

State-operated risk adjustment program. 78 Fed. Reg. 72,321, 72,328, 72,383 (Dec. 2, 2013); 79

Fed. Reg. 13,743, 13,748 (Mar. 11, 2014) (referencing CMS’s decision to approve an alternate

methodology for 2015); see also 78 fed. Reg. at 15,416 (“[A]ny State [hat begins operation of

risk adjustment under this transitional process must obtain formal certification for benefit year

2015.”)

          41.    As HHS explained when it adopted its final rule, “[c]ommenters generally agreed

with our approach to approving State risk adjustment programs beginning in benefit year 2015,”

id., and HHS finalized the provisions as proposed. See id.; 45 C.F.R. § 153.310. HHS also

adopted the proposed transition rule for 2014, reasoning:

                 We proposed the transitional policy based on the unique
                 circumstances of 2014, and we do not anticipate extending it to
                 future years. Although we are mindful of concerns that States may
                 not be fully ready to operate a complex risk adjustment program
                 for benefit year 2014, we note that each aspect of a State’s
                 operations (including data collection) must be performed in line
                 with one of the federally certified risk adjustment methodologies
                 published in this final rule. finally, we note that any State that
                 begins operation of risk adjustment under this transitional process
                 must obtain formal certification for benefit year 2015. We believe




                                                 13
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 14 of 45




                   this process is sufficiently robust to ensure any State operating risk
                   adjustment in 2014 will be prepared to do so.

78 fed. Reg. at 15,416.

         42.      Thus, the 2013 HHS final regulations established that HHS would operate and

administer the risk adjustment program for years 2015 and thereafter, uittess a State with a State-

run Exchange opted to create, and secure federal approval of, its own “alternative” risk

adjustment program. 45 C.F.R.         § 153.310. Furthermore, in order to remain approved, a State
must also submit yearly reports to HHS and publish its own State notice of benefit and payment

parameters for its risk adjustment mechanism by March 1 of the prior plan year. See 45 C.F.R.

§ 153.330; CMS, Reiitsurance, Risk Corridors, and Risk Adjustment final Rule 18 (Mar. 2012),
available at: https://www.cms.gov/CCIIO/Resources/FHes/Downloads/3rs-final-mle.pdf; CMS,

Risk Adjustment Methodology             Overview      32—33    (May   21—23,     2012),     available   at;

https://www.crns.gov/CCIIO/Resources/Presentations/Downloads/hie-risk-adjustment

me Ehoclol o gv. pdf.

        43.       HHS regulations are explicit that a State that does not obtain approval to operate

its own risk adjustment program may not alter the HHS risk adjustment program that will instead

operate in the State:

                  Any State that elects to operate an Exchange but does not elect to
                   administer risk adjustment wilt forgo implementation of alt State
                  functions in this sttbpart [referencing Subpart D, “State Standards
                  Related to the Risk Adjustment Program”], and HHS wilt carry
                  out alt of the provisions of this subpart on behalf of the State.

45 C.F.R.     § 115.3 10(a)(3) (emphasis added).
        44.       Reiterating the point, 45 C.F.R.   § 115.310(a)(4) provides:
                  Beginning in 2015, any State that is approved to operate an
                  Exchange and elects to operate risk adjustment but has not been
                  approved by HHS to operate risk adjustment prior to publication
                  of its State notice of benefit and payment parameters for the


                                                     14
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 15 of 45




               applicable benefit year, wilt forgo implementation of alt State
               functions in this subpart [referencing Subpart D, “State Standards
               Related to the Risk Adjustment Program”], and HHS will carry
               out alt of the provisions of this subpart on behalf of the State.

(emphasis added).

        D.      New York Failed to Seek or Obtain Approval for Its Own Risk Adjustment
                Program.

        45.    The State of New York has never created nor obtained approval for its own risk

adjustment program.     HHS therefore operates risk adjustment in New York pursuant to the

federal risk adjustment program. See id.; see also 81 fed. Reg. 12,203, 12,230 (Mar. 8, 2016)

(“[lJf a State is not approved to operate or chooses to forgo operating its own risk adjustment

program, HHS will operate risk adjustment on the State’s behalf”). Massachusetts is the only

state that chose to create and obtain approval for its own risk adjustment program, see 78 fed.

Reg. at 15,415 (“Massachusetts is the only State electing to operate a risk adjustment program

for the 2014 benefit year”); 79 Fed. Reg. 13,743, 13,748 (Mar. 11, 2014) (“recertifying”

Massachusetts’ alternative methodology); $0 Fed. Reg. 10,749, 10,772 (Feb. 27, 2015) (same),

but that State’s risk adjustment program was not recertified for 2017. See $1 Fed. Reg. at

12,230. Therefore, for the 2017 and 2018 benefit plan years, New York and all other states are

subject to the federal HI-IS-administered risk adjustment program. Id. (“HHS will operate risk

adjustment in all States for the 2017 benefit year.”).

 IV.     THE FEDERAL RISK ADJUSTMENT METHODOLOGY.

       46.     In March 2013, HHS issued the final methodology it would use to calculate risk

adjustment assessments and payments for the 2014 plan year. See 7$ Fed. Reg. 15,409, 15,419—

52 (Mar. 11, 2013). HHS’s final risk adjustment methodology is detailed and complex and has

been amended by HHS over time. As noted, the ultimate purpose is to transfer funds from lower




                                                 15
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 16 of 45




risk plans to higher risk plans in the individual and small group markets. The methodology’s key

features are as follows:

        47.    first, the HHS methodology utilizes a “concurrent [data] model,” meaning that it

calculates risk adjustment assessments and payments using data provided by insurers from the

same benefit plan year in which those assessments or payments will apply. 77 fed. Reg. 72,913,

73,118, 73,125 (Dec. 7, 2012); 78 fed. Reg. 15,409, 15,420 & 15,516 (Mar. 11, 2013).

        48.    Second, the HHS risk adjustment program operates as a “transfer” of funds from

low actuarial risk health insurance plans to high actuarial risk health insurance plans, with HHS

as the intermediary. These transfers are based on the average statewide premium payment, rather

than on the plans’ actual earned premiums. This means that plans with below-average premiums

will experience relatively greater charges or receipts depending on their status as a low or high

actuarial risk benefit plan, while plans with above-state average premiums will experience

somewhat less significant charges or receipts by the program. 78 fed. Reg. at 15,431—32.

       49.     Third, the primary input for calculating risk adjustment is the actuarial “risk

score” for each of a plan’s enrollees. High risk scores are assigned to individuals with more

complex chronic health needs that are likely to result in higher health insurance claims costs,

while low risk scores assume less healthcare needs and relatively lower health insurance claims

costs. See Id. at 15,431—43.

       50.     Risk scores begin with a coefficient for each individual based on age and gender,

with infants all starting with the same coefficient.    This demographic-based coefficient is

supplemented over time if the individual is assigned to one or more hierarchal condition

categories (“HCCs”) that correspond to given chronic conditions or diagnoses. Examples of

HCCs include “Asthma,” “Drug Dependency,” “Diabetes without Chronic Complications,” and




                                               16
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 17 of 45




“HIV!AIDs.” HCCs are excluded from the risk adjustment score if they are not predictive of

healthcare costs or are not medically significant. Id. at 15,422—30.

        51.    The coefficient of any applicable HCC, which can also be adjusted for the

interaction and severity of the diagnoses, is added to the individual’s demographic coefficient.

Id. at 15,422. These individual scores are then used to calculate a plan’s average risk score,

which is a weighted average of the risk scores of all individual enrollees. Finally, adjustments

are made for a variety of factors, including actuarial value and geographic cost variation within a

state. Id. at 15,430—34.

        52.     Enrollees are associated with HCCs only for the benefit plan year in which a

healthcare provider diagnoses a condition (or recognizes a diagnosis), properly codes the

diagnosis, and transmits the information to the insurer. See icL at 15,417, 15,420, 15,437, 15,499.

Thus, for example, an individual receiving a diabetes diagnosis will receive a diabetes HCC only

when the diagnosis was received while enrolled in the plan during the applicable year, and only

if the physician records and transmits the diagnosis to the insurer. See id.

       53.     fourth, the HHS risk adjustment model relies on risk scores, and not on

prescription drug data, to identify subscriber diagnoses. Id. at 15,430—34. That choice was the

subject of considerable discussion among insurers and other stakeholders, some of whom filed

comments arguing that the use of prescription drug data would result in more accurate risk

adjustment. Variants on this theme were also advanced, including using prescription drug data

but limiting that data to non-discretionary drugs, such as insulin, cancer chemotherapies, and

others, or limiting the data to high-impact drugs that treat select conditions. See, e.g., Or. Dep’t

of Consumer and Business Services, Comment to HHS-9964-F, Patient Protection and

Affordable Care Act: Beitefit and Payment Parameters for 2014, at 1—2 (Jan. 3, 2013),




                                                 17
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 18 of 45




available at: https://www.regu1ations.gov/docurnent?D=CMS20120 152-0174; DC-BlueCross

BlueShield, Comments on the Proposed Rule: ‘Patient Protection and Affordable Care Act,

PINS Notice of Benefit and Payment Parameters for 2014” [HHS-9964-P], at *49 (Dec. 28,

2012),         avaitable    at:    https://www.regulations.gov/document?D=CMS-2012-0152-0270.

However, HHS raised the concern that reliance on prescription drug data “could create adverse

incentives to modify discretionary prescribing.” 77 Fed. Reg. at 73,128.

         54.       As discussed above, insurers with enrollees who are healthier than the state-

covered average must make payments into the risk adjustment program (“payors”). Insurers that

incur higher claim costs due to having enrollees who are sicker than the state-covered average

are entitled to receive risk adjustment payments (“receivers”).         The amount of each payor’s

obligation to make risk adjustment payments, and each receiver’s right to receive risk adjustment

payments, for a given benefit year are announced by CMS in June of the following year. The

actual transfer of funds takes place beginning in August.

         55.       for the 2014 benefit year, the first full benefit plan year of the CMS-administered

risk adjustment program, New York payors’ total risk adjustment payment obligations totaled

approximately $141 million with respect to the individual market and $195 million with respect

to the small group market. See CMS, Suminaiy Report on Transitional Reinsurance Payments

and Permanent Risk Adjustment Transfers For the 2014 Benefit Year, Table 6, available at:

https://www.crns .gov/CCIIO/Prograrns-and-Initiatives/Premium-Stabilization

gams/Downloads/RI-RA-Report-REVISED-9- 17-15 .pdf.

         56.      Nine months after issuing its final rule for plan year 2014, HHS published a

notice of its proposed risk adjustment methodology for plan year 2015. See 78 fed. Reg. 72,321

(Dec. 2, 2013), During the comment period, HHS received 129 comments from a variety of




                                                   18
        Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 19 of 45




stakeholders, including health insurance companies, industry groups, and States, and its final rule

was published in March 2014. 79 Fed. Reg. 13,743, 13,748 (Mar. 11, 2014).

         57.    For the 2015 benefit year, New York payors’ total risk adjustment payment

obligations totaled approximately $230 million with respect to the individual market and $342

million with respect to the small group market. See CMS, Summary Report on Transitional

Reinsurance Payments and Permanent Risk Adjustment Transfers For the 2015 Benefit Year,

Table     4,   available   at:    https://www.cms.gov/CCIIO/Programs-and-Initiatives/Premium

Stabi1ization-Prorams/Downloads/June-30-201 6-RA-and-RI-Summary-Report-5CR-

0630 16.pdf.

         58.    In November 2014, HHS published a notice of its proposed risk adjustment

methodology for plan year 2016. See 79 fed. Reg. 70,673 (Nov. 26, 2014). HHS received 313

comments from a wide variety of stakeholders, including States, and considered those comments

in formulating its final rule that was ultimately finalized on february 27, 2015. 80 fed. Reg.

10,749, 10,755 (feb. 27, 2015) (final rule for plan year 2016).

        59.     for the 2016 benefit year, New York payors’ total risk adjustment payment

obligations totaled approximately $194 million with respect to the individual market and $284

million with respect to the small group market. See CMS, Stcmmarv Report on Transitional

Reinsurance Paytnents and Fermaneizi Risk Actjustntent Transfers for the 2016 Benefit Year,

Table     4,   available   ctt:   https://www.cms.gov/CCIIO/Programs-and-Jnitiatives/Premium

Stabilization-Programs/Downloads/Summary-Reinsurance-Payments-Risk-2016.pdf.

        60.    In December 2015, HHS again solicited public comment on its risk adjustment

methodology when it published for comment its proposed changes to the federal risk adjustment

model for plan year 2017. 80 fed. Reg. 75,487 (December 2, 2015). This time, HHS received




                                                19
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 20 of 45




524 comments from insurance companies, state agencies, and other stakeholders offering

comments on the proposed changes. 81 Fed. Reg. 12,203, 12,210 (Mar. 8, 2016). On March 8,

2016, CMS published its Final Rule for plan year 2017, taking into account the comments it

received on the proposed rule. See id.

       61.         In March of 2016, HHS published a detailed discussion paper in advance of a

public Risk Adjustment Methodology Meeting, setting out for stakeholders its proposed

approach to risk adjustment and possible improvements to the mechanism for the future. See

CMS, Discussion Paper, HHS-Operated Risk Adjustment Methodology Meeting (Mar. 24, 2016),

available             at:        https ://www.cms gov/CCIIO/Resources/forms-Reports-and-Other

Resources/Downloads/RA-March-3I -White-Paper-03241 6.pdf.

       62.         HHS on June 8, 2016, largely in response to feedback on the March 2016 final

rule and discussion paper, announced that it would be proposing alterations to its methodology

for upcoming plan years through two significant changes. first, it proposed that beginning in

the 2017 plan year, its methodology would include an adjustment for partial-year enrollees to

“more accurately account[] for the costs of short term enrollees in ACA-compliant risk pool[sJ.”

CMS, Strengthening the Marketplace         -   Actions to Improve the Risk Fool (June 8, 2016),

available    at:    https://www.cms. gov/Newsroom/MediaReleaseDatabase/f act-sheets/20 16-Fact-

sheets-items/201 6-06-08.html.

       63.         Second, HHS announced it would, beginning in 2018, incorporate prescription

drug utilization data into its risk assessment methodology. Id. HHS has also indicated that in

response to feedback from various stakeholders, it will begin providing insurers with early

estimates of plan-specific risk adjustment calculations to assist plans in setting premiums, and it

will continue to explore options to modify the risk adjustment mechanism to better account for




                                                  20
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 21 of 45




high-cost enrollees. See Andy Slavitt, Conzinents of HHS Acting Administrator at J.P. Morgan

Annual Health Care Conference (Jan. 11, 2016), available at: htlp://wayback.archive

it.org12744/2016 1 109125758/https://blog.cms.gov/20 16/0 1/12/comrnents-of-cms-acting-

administrator-andy-slavitt-at-thc-j-p-morgan-annual-health-care-conference-jan-l 1-2016/; Kevin

Counihan, Building on Premium Stabilization for the future, HHS Blog (Aug. 11, 2016),

available                                 at:                              http://wayback.archive

iLorg/2744/20 170118 125734/https://blog.crns. gov/2016/08/i i/building-on-premium-

stabilization- for- the- future/.

        64.      In September 2016, HHS incorporated these changes through a proposed rule,

which was open for public comment through October 6, 2016, see 81 fed. Reg. 61,455, 61,467

(Sept. 6, 2016), and finalized on December 22, 2016. See $1 fed. Reg. 94,058, 94,071 (Dec. 22,

2016). The 2017 and 2012 risk adjustment mechanism thus includes “[a]djustment factors for

partial year enrollment,” and the 2018 risk adjustment mechanism also includes “prescription

drug utilization factors” and “modifying transfers to account for high-cost enrollees.” Id. The

risk adjustment models will be “recalibrate[d]” “using 2015 MarketScan data blended with 2013

and 2014 MarketScan data following the publication of the final Payment Notice for the 2018

Benefit Year.” Id.

         65.     Plaintiff UnitedHealthcare of New York, Inc. has been in the past, and is expected

to be with respect to benefit years 2017 and 2018, a recipient of risk adjustment payments under

the New York individual market. Plaintiff Oxford Health Insurance, Inc. has been in the past,

and is expected to be with respect to benefit years 2017 and 2018, a recipient of risk adjustment

payments under the New York small group market.




                                                 21
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 22 of 45




  V.       THE REQUIREMENTS FOR OBTAINING HUS APPROVAL OF A STATE
           RISK ADJUSTMENT PROGRAM.

         66.    HHS regulations set forth detailed requirements for a State to obtain requisite

approval of its own risk adjustment program. A State must submit a complete description of its

risk adjustment model, including—(i) (1) the factors to be employed in the model, including but

not limited to demographic factors, diagnostic factors, and utilization factors, if any; (ii) the

qualifying criteria for establishing that an individual is eligible for a specific factor; (iii) the

weight assigned to each factor; and (iv) the schedule for the calculation of individual risk scores;

(2) a complete description of the calculation of plan average actuarial risk, (3) a complete

description of the calculation of payments and charges, (4) a complete description of the risk

adjustment data collection approach, and (5) the schedule for the risk adjustment program. 45

C.F.R.    § 153.330(a)(1)(i), 153.320(b).         The State must also set forth the calibration

methodology and frequency of calibration and the statistical performance metrics specified by

HHS. 45 C.F.R.   § 153.330(a)(1)(ii) and (iii).
         67.   The State request for approval must include the extent to which the methodology:

(i) accurately explains the variation in health care costs of a given population; (ii) links risk

factors to daily clinical practice and is clinically meaningful to providers; (iii) encourages

favorable behavior among providers and health plans and discourages unfavorable behavior; (iv)

uses data that is complete, high in quality, and available in a timely fashion; (v) is easy for

stakeholders to understand and implement; (vi) provides stable risk scores over time and across

plans; and (vii) minimizes administrative costs. 45 C.F.R.   § 153.330(a)(2).
         68.   A State risk adjustment methodology will be certified by HHS based on the

criteria listed above, as well as whether the methodology complies with the risk adjustment




                                                  22
        Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 23 of 45




program requirements; accounts for risk selection across metal levels; and each of the elements

of the methodology are aligned. 45 C.F.R.    § 153.330(b).
  VI.      NEW YORK HAS NOT ESTABLISHED AND OBTAINED APPROVAL FOR
           ITS OWN RISK ADJUSTMENT PROGRAM.

         69.   As noted above, a State may establish its own risk adjustment program, subject to

federal approval of that risk adjustment program and other requirements.             See 45 C.F.R.

§ 153.3 10(a)(1). New York has never sought, much less obtained, HHS approval for its own risk
adjustment program.

         70.   Specifically, New York informed HHS that it would not be establishing its own

risk adjustment program but would rely upon the federal Government to operate that program.

See, e.g., November 15, 2012 letter from Governor Cuomo to CMS (“New York has determined

that the State will not administer the reinsurance and risk adjustment functions in 2014 and

requests federal administration of these functions.”)        Beginning in plan year 2014, the

Superintendent suspended New York’s pre-existing risk adjustment program for individual and

small group health insurance markets, because of the full implementation of the ACA.

Therefore, since 2014, New York’s individual and small group health insurance markets have

been subject solely to HHS’s federal risk adjustment program. See Statement oft/ic Reasons for

Emergency Measure, Sixth Amendment to 11 NYCRR 361 (Insurance Regulation 146) (Sept. 9,

2016) (acknowledging that New York is “subject only to the federal program”).

        71.    Despite the State’s failure to establish and obtain federal approval for its own risk

adjustment program, the Superintendent has issued the 2017 Emergency Regulation and

proposed 2018 Permanent Regulation, which brazenly purport to displace core components of

the HHS risk adjustment methodology with one of her choosing. The Superintendent issued both

the 2017 Emergency Regulation and proposed 2018 Permanent Regulation notwithstanding the



                                                23
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 24 of 45




explicit, straightforward legal requirement that a State must satisfy the detailed procedural

requirements set forth in HHS regulations for obtaining HHS approval, see ¶T 60—62, supra, if it

wishes to adopt a risk adjustment program different than that promulgated by HHS, see 45

C.F.R.     § 153.3l0(a)(3) (“Any State that   .   .   .   does not elect to administer risk adjustment will

forgo implementation of all State functions” relating to the Risk Adjustment Program); 45 C.F.R.

§   153.3 l0(a)(4) (“Beginning in 2015, any State that.         .   .   elects to operate risk adjustment but has

not been approved by HHS to operate risk adjustment prior to publication of its State notice of

benefit and payment parameters for the applicable benefit year, will forgo implementation of all

State functions” relating to the Risk Adjustment Program).

    VII.     THE 2017 EMERGENCY                       REGULATION                AND     201$    PERMANENT
             REGULATION.

           72.   On September 9, 2016, Defendant promulgated 11 NYCRR 361, amend. 6 (the

2017 Emergency Regulation), entitled “Establishment and Operation of Market Stabilization

Mechanisms for Certain Health Insurance Markets.” The 2017 Emergency Rule applies to the

risk adjustment payments that receivers are to collect from the federal Government starting in

August 2018 with respect to their New York health plan operations during benefit plan year

2017. The Superintendent has reissued the 2017 Emergency Regulation five times, on December

7, 2016, March 6, 2017, June 21, 2017, July 31, 2017, and September 28, 2017.

           73.   On May 3, 2017, Defendant, acting in her official capacity as Superintendent of

Financial Services of the State of New York, published a proposed regulation, to be promulgated

as 11 NYCRR 361, amend. 6 (the 2018 Permanent Regulation).                           Like the 2017 Emergency

Regulation, the 2018 Permanent Regulation is entitled “Establishment and Operation of Market

Stabilization Mechanisms for Certain Health Insurance Markets.”                          The 2018 Permanent

Regulation applies to the risk adjustment payments that receivers are to collect from the federal



                                                          24
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 25 of 45




Government starting in August of 2019 and thereafter with respect to their New York health plan

operations during benefit year 2018 and thereafter. For purposes relevant to this lawsuit, the

2017 Emergency Regulation and proposed 201$ Permanent Regulation are substantively

identical, except that the former applies only to the small group market for the 2017 benefit plan

year, while the latter applies to both the small group and individual markets for the 2018 benefit

plan year and beyond.

        74.    As discussed in detail in Section IV., stcpra, HHS has through its risk adjustment

program and methodology established a means by which insurers with healthier than State

average enrollees (payors) must, using HHS as a conduit, make payments to insurers with sicker

than State average enrollees (receivers). As discussed in detail in Section V., supra, a State like

New York that has not sought and obtained HHS approval for its own State risk adjustment

methodology must forego all responsibilities with respect to risk adjustment and defer all

administration to HHS.

       75.     The 2017 Emergency Regulation and proposed 2018 Permanent Regulation

constitute a frontal assault upon the federally-administered risk adjustment program and

methodology.      Unhappy with      the results of the      federally-defined methodology,         the

Superintendent through the 2017 Emergency Regulation and proposed 2018 Permanent

Regulation purports to seize up to 30% of the federal risk adjustment payments owed to insurers

with high risk claims costs (as calculated and reported in the HHS June   30th
                                                                                 annual report) and to

redistribute that money to the New York State insurers with lower than State average claims

costs to whom those payments are not owed under the federal risk adjustment program. The

Superintendent’s actions are in direct contravention of the federal program’s goal, intent, legal

methodology, and annual June 3O report.




                                               25
       Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 26 of 45




         76.      Specifically, the 2017 Emergency Regulation and proposed 2018 Permanent

Regulation provide:

                 [E]very carrier in the small group health insurance market that is
                 designated as a receiver of a payment transfer from the federal risk
                 adjustment program shalt remit to the superintendent an amount
                 equal to a untform percentage of that paynzent transfer for the
                 market stabilization pool. The uniform percentage shall be
                 calculated as the percentage necessary to correct any one or more
                 of the adverse market impact factors specified in subdivision (b)(1)
                 of this section.

Id. at 361.9(e)(1) (emphasis added).      Conversely, the Regulations specify that every carrier

designated as a payor of a risk adjustment payment under the federal risk adjustment program

(those with lower than State average claims costs) “shall receive from the superintendent an

amount equal to the uniform percentage of that payment transfer.” Id. at 361.9(e)(2)(i).

         77.     The Regulations provide that the Superintendent will facilitate this redistribution

of federal risk adjustment payments by “send[ing] a billing invoice to each insurer [with higher

than State average claims costs and] require[] payment into the [New York] market stabilization

pool after the federal risk adjustment results are released pursuant to 45 CFR section

153.3 10(e).” Id. at 361.9(e)(1)(i). These required payments to the Superintendent must be made

“[w]ithin ten business days of the later of its receipt of invoice from the superintendent or receipt

of its risk adjustment payment from” HHS. Id. at 361.9(e)(1)(ii).         The Superintendent will

subsequently “send notification to each carrier [with lower than State average claims costs] of

the amount the carrier will receive as a distribution from the [New York] market stabilization

pool” and “make a distribution to each carrier after receiving all payments from payors.” Id. at

361 .9(e)(2)(ii)—(iii).

        7$.      The Regulations provide that the amount remitted to the Superintendent is within

the Superintendent’s discretion, to be determined “based on reasonable actuarial assumptions,”



                                                 26
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 27 of 45




and may be up to “30 percent of the amount to be received from the federal risk adjustment

program.” Id. at 361.9(e)(1) (emphasis added).

        79.       The Superintendent has announced that she intends to exercise the maximum

authority purportedly afforded by the 2017 Emergency Regulation. Specifically, on April 14,

2017, the Superintendent issued a “Guidance Regarding Emergency Risk Adjustment Regulation

for the 2017 Plan Year for the Small Group Market” (11 NYCRR 361.9) (“Guidance

Document”) stating: “Based on reasonable actuarial assumptions and all available information

regarding the New York small group market for the 2017 plan year, the Superintendent has

determined that a 30% uniform percentage adjustment will, absent extraordinary circumstances,

be used in applying the market stabilization mechanism for the 2017 plan year.” Guidance

Document (emphasis added).

       $0.        By authorizing the Superintendent to reverse up to 30 percent of risk adjustment

payments made pursuant to Hi-IS’s federal risk adjustment mechanism, the 2017 Emergency

Regulation and proposed 2018 Permanent Regulation purport directly to displace the HHS risk

adjustment program, including its risk adjustment methodology and calculations, to which the

State is subject under the ACA.

       81.        The Superintendent through the 2017 Emergency Regulation and proposed 2018

Permanent Regulation is thus purporting to change the calculation of risk adjustment payments

without fulfilling any of the following procedural requirements attendant to the adoption of a

state risk adjustment program, see Section V., supra:

              •   Submit to HHS a complete description of its risk adjustment model, including
                  factors to be employed in the model, qualifying criteria for establishing individual
                  eligibility for a specific factor, weights assigned to each factor, the schedule for
                  calculating individual risk scores;
              •   Submit to HHS a complete description of the calculation of plan average actuarial
                  risk;


                                                   27
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 28 of 45




             •   Submit to HHS a complete description of the calculation of payments and
                 charges;
             •   Submit to HHS a complete description of the risk adjustment data collection
                 approach;
             •   Submit to HHS the schedule for the risk adjustment program;
             •   Discuss in a request for HHS approval the extent to which the proposed
                 program’s methodology; (1) accurately explains the variation in health care costs
                 of a given population; (ii) links risk factors to daily clinical practice and is
                 clinically meaningful to providers; (iii) encourages favorable behavior among
                 providers and health plans and discourages unfavorable behavior; (iv) uses data
                 that is complete, high in quality, and available in a timely fashion; (v) is easy for
                 stakeholders to understand and implement; (vi) provides stable risk scores over
                 time and across plans; and (vii) minimizes administrative costs; and

             •   Obtain HHS approval.

       $2.       Instead, New York has simply gone ahead and established a retroactive State risk

adjustment program on its own.

  VIII. THE 2017 EMERGENCY REGULATION AND PROPOSED 2018
        PERMANENT REGULATIONS REPRESENT A DIRECT ATTACK ON THE
        FEDERAL RISK ADJUSTMENT FORMULA.

       83.       As noted in ¶ 15, supra, risk adjustment is a federal “stabilization program.” The

very title of the New York Regulation, “Establishment and Operation of Market Stabilization

Mechanisms for Certain Health Insurance Markets,” makes obvious what the Superintendent

seeks to do—that is, to simply create an alternative risk adjustment formula outside of the

process prescribed by HHS. In light of the specific procedures established under federal law for

State involvement in risk adjustment, such action is inconsistent with—indeed, directly

contravenes—the federal mechanism.

       84.       The Superintendent’s own explanation for her rulemaking demonstrates her effort

to unilaterally re-write the federal risk adjustment formula. The Superintendent states that she

“has been assessing the federal risk adjustment program developed under the federal Affordable

Care Act” and has determined that “the calculations for the federal risk adjustment program do


                                                 28
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 29 of 45




not take into account certain factors, resulting in unintended consequences.”            11 NYCRR

361.9(a)(1) & (2).

       85.       The federal risk adjustment formula lies at the heart of the federal risk adjustment

program and methodology. As discussed in detail in Section IV., supra, this codified formula

was developed over several years, through a series of white papers, workshops, and discussions,

all with multiple opportunities for input, and subject to several revisions over time:


                   [    PLRS11DFGCF                                                      J
                         PLRS1 lDF                     E(sAV ARfIDF GCf3]

       $6.       The formula includes the following factors among others:

             •   a pian liability risk score (PLRS), which reflects the plan’s actuarial value as well
                 as the pian’s enrollee health status risk;

             •   an induced demand factor (IDf), which reflects the anticipated induced demand
                 associated with the plan’s cost sharing (metal) level;

             •   a geographic cost factor (GCF), which reflects prevailing utilization and
                 expenditure patterns in the geographic location of the plan’s enrollees;

             •   the actuarial value (AV) of the plan’s benefits (metal level);

             •   the Statewide Average Premium (Ps); and

             •   the plan’s allowable rating factor (ARf), which reflects the relative amount a plan
                 can charge given the age of its enrollees.

       $7.       The 2017 Emergency Regulation and proposed 2018 Permanent Regulation

represent a direct attack upon the HHS risk adjustment formula without any effort to comply

with the substantive and procedural requirements for substituting a state formula. Indeed, the

Superintendent admits as much, asserting that “when applied to New York, there are certain

inadequacies in the methodologies underlying the federal risk program.”               See Guidance

Document. She cites three specific alleged inadequacies in the federal methodology:




                                                  29
          Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 30 of 45




                 •   The federal risk adjustment methodology allegedly does not adequately address
                     the impact of carriers’ administrative costs and profit;

                 •   The federal risk adjustment methodology allegedly is distorted by how the
                     number of children in a family are counted;

                 •   The federal risk adjustment methodology allegedly fails to account for network
                     differences, plan efficiencies, effective care coordination, and disease
                     management. Id.

           88.       Mi of the issues New York raises were specifically addressed by HHS in crafting

the federal risk adjustment formula.

           89.       Administrative   costs.       HHS          specifically rejected   comments    requesting

administrative costs be included in “Ps,” the Statewide Average Premium calculation, noting “the

concern that including fixed administrative costs in the Statewide average premium may increase

risk adjustment transfers for all issuers based on a percentage of costs that are not related to

enrollee risk.”        See Discussion Paper, p. 92 (5.5.1. Including Administrative Costs in the

Statewide Average Premium). HHS nonetheless noted that it was “continuing to evaluate the

impact of administrative expenses on risk adjustment transfers, and may consider this adjustment

beyond the 2018 benefit year.” Id. (emphasis added)

           90.       family size. HHS also considered the counting of children in families, which

relates to “ARf,” the Allowable Rating factor. HHS explicitly rejected New York’s preferred

family tiering solution, in part because family size is already accounted for in another factor, the

plan liability risk score (“PLRS”). “The Federal rules for family rating allow an issuer to charge

a premium only for up to three children.       .   .   .   [A]verage plan liability risk scores do take family

size into account by including the actuarial risks of non-billable family members in the

calculation of the average over all billable enrollees.” See Discussion Paper, p. 85, 87            ( 5.3.1,
5.3.4).




                                                           30
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 31 of 45




       91.     Further, FIRS had already modified the ARF formula:

               “We note that some States [including New York] use family tiering
               rating factors  .   To account for the differences in family rating
                                   .   .



               practices between family tiering States and non-family tiering
               States, we finalized a modification to the ARF formula for family
               tiering States in the second Program Integrity Rule (78 federal
               Register 65056) and a further clarification in the 2016 Payment
               Notice (80 federal Register 10750).”

 See Discussion Paper, p. 87   § 5.3.4).
       92.     Additional factors.         Finally, HHS specifically considered the factors the

Defendant claims the federal program “fail[sJ to account for,” HHS having in its Discussion

Paper discussed “network differences, plan efficiency, or effective care coordination or disease

management.”     See Discussion Paper, p. 93 (5.5.2. Potential Change to the Transfer

formula). While HHS is interested in “exploring       ...   ways of addressing such plan differences,”

FIRS was not prepared to change the formula because “of potential sources of error.       .   .   as well as

the risks of creating unintended incentives.” Id.

       93.     This lawsuit does not require that the Court confirm all the choices made in the

federal risk adjustment formula. This lawsuit does ask the Court to determine that New York

cannot make independent changes to those choices, or to the federal risk adjustment formula in

general, without first complying with all of the procedural and substantive requirements

established by the federal risk adjustment regulations, including the requirement that the state

obtain HHS approval before changing the federal risk adjustment regulations by adopting its own

risk adjustment formula.




                                                 31
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 32 of 45




                                    CLAIMS FOR RELIEF

                                            COUNT I

              CONFLICT PREEMPTION 2017 EMERGENCY REGULATION
                                            -




                 SUPREMACY CLAUSE Of THE U.S. CONSTITUTION

        94.    The allegations contained in paragraphs 1 through 93 are incorporated by

reference herein.

        95.    The Supremacy Clause, U.S. Const. art. VI, ci. 2, provides that the laws of the

United States are “the supreme law of the land.” Federal law supersedes and invalidates state

law when state law or regulations conflict with federal laws (conflict preemption).

       96.     The 2017 Emergency Regulation directly conflicts with the risk adjustment

program administered by HHS pursuant to the ACA. By explicitly reversing up to 30 percent of

the required payments made under the federal risk adjustment program, that Regulation directly

conflicts with HHS’s formula for making payments to health plans in amounts that HHS has

deemed are appropriate to compensate those plans for having enrollees with higher than average

health risks, based upon the risk adjustment methodology and formula established by HHS.

       97.     The 2017 Emergency Regulation directly conflicts with the risk adjustment

program administered by HHS pursuant to the ACA because it purports to modify and non

conformingly re-write specific elements of the federal formula.

       98.     The 2017 Emergency Regulation also directly conflicts with the ACA and its

regulations by ignoring the requisite steps a State must take if it wants to displace the HHS risk

adjustment methodology and establish its own state methodology, resulting in a different amount

of money being transferred to the health plan with lower than state average risk than would have

been received under the HHS methodology, Federal regulations require that a State wishing to

operate an alternative risk adjustment program must be approved in advance by HHS. 45 C.F.R.



                                                32
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 33 of 45




§ 153.310(a)(2). This approval must take place prior to publication of the State’s notice of
benefit and payment parameters for the applicable benefit year.         Id,   § 153.310(a)(4). The
substantive and procedural requirements for obtaining approval of a state risk adjustment

program are detailed, see ¶l 60—62, supra. New York has not undertaken, much less fulfilled,

any of these steps.

        99.    The 2017 Emergency Regulation thus directly and openly conflicts with ACA

regulation 45 C.F.R.   § 153.310(a)(3), which provides:
               Any State that elects to operate an Exchange but does not elect to
               administer risk adjustment wilt forgo iinplementatioit of alt State
               functions in this subpart [referencing Subpart D, “State Standards
               Related to the Risk Adjustment Program”], and I-IRS will carry out
               all of the provisions of this subpart on behalf of the State

(emphasis added), as well as 45 C.F.R.   § 153.3 10(a)(4), which provides:
                Beginning in 2015, any State that is approved to operate an
                Exchange and elects to operate risk adjustment but has not been
               approved by HHS to operate risk adjustment prior to publication
                of its State notice of benefit and paymeltt parameters for the
               applicable beitefit year, wilt forgo implementation of alt State
               fumtctions itt this subpart, and HHS will carry out all of the
               provisions of this subpart on behalf of the State.

(emphasis added).

       100.    for all of these reasons, the 2017 Emergency Regulation directly conflicts with

the federal regulatory scheme established by the ACA and its regulations to balance

disproportional shares of higher risk and claims costs in the small group health insurance market,

and is therefore preempted.




                                                33
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 34 of 45




                                              COUNT II

               CONFLICT PREEMPTION 2017 EMERGENCY REGULATION
                                              -




                  SUPREMACY CLAUSE OF THE U.S. CONSTITUTION

        101.    The allegations contained in paragraphs 1 through 100 are incorporated by

reference herein.

        102.    The Supremacy Clause, U.S. Const. art. VI, ci. 2, provides that the laws of the

United States are “the supreme law of the and.” federal law supersedes and invalidates state law

when state law or regulations interferes with, or frustrates the purposes of, federal laws.

        103.    The 2017 Emergency Regulation interferes with, and frustrates the purposes of,

the risk adjustment program administered by HHS pursuant to the ACA, and is preempted by

federal law. By explicitly reversing up to 30 percent of payments made under the federal risk

adjustment program, the 2017 Emergency Regulation directly conflicts with the fulfillment of

the Govenrnent’s efforts to make payments to health plans in amounts that HHS has deemed are

appropriate to compensate those plans for having enrollees with higher than average health risks,

based upon the risk adjustment methodology established by HHS.

        104.    For these reasons, the 2017 Emergency Regulation interferes with, and frustrates

the purposes of, the federal regulatory scheme established by the ACA and its regulations to

balance risk in the small group insurance market, and is therefore preempted.

                                              COUNT III

             UNLAWFUL TAKING 2017 EMERGENCY REGULATION
                                          -




      FIFTH AND FOURTEENTH AMENDMENTS OF THE U.S. CONSTITUTION

       105.     The allegations contained in paragraphs 1 through 104 are incorporated by

reference herein.

       106.     The fifth Amendment of the U.S. Constitution prohibits government takings of

private property for public use without just compensation. U.S. Const, amend V.


                                                  34
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 35 of 45




        107.    The Fifth Amendment’s Takings Clause is applied to the States through the

Fourteenth Amendment of the U.S. Constitution. Takings claims under the Fifth and Fourteenth

Amendments of the U.S. Constitution may accordingly be brought with respect to governmental

actions by state or local entities.

        108.    Receivers of federal risk adjustment payments under the risk adjustment

mechanism administered by HHS, including Plaintiffs, have an identifiable property interest in

those funds, which are calculated annually and paid pursuant to the risk adjustment formula

created by HHS.

        109.    The 2017 Emergency Regulation, under which the Superintendent may demand

that Plaintiffs pay the Department of Financial Services of the State of New York a substantial

portion (up to 30%) of those funds for the Superintendent to re-distribute to other insurers in the

state, is an unconstitutional taking of Plaintiffs’ property without just compensation.

        110.    As a direct, foreseeable, and proximate result of the Superintendent’s taking of

federal risk adjustment funds to which Plaintiffs are entitled, Plaintiffs will suffer substantial

financial losses.

        111.    While the typical remedy for a governmental taking is just compensation, and a

property owner must ordinarily pursue just compensation under any available state law remedies

before it can claim a violation of the fifth Amendment by a state or local government, this

doctrine, even where applicable, is only a matter of prudential ripeness, not a jurisdictional bar to

a federal court action.

        112.    Furthermore, resorting to court remedies for just compensation is not required,

even as a matter of prudential ripeness, when the taking is of money, as opposed to other types of

property. Where the challenged governmental conduct, rather than burdening real or physical




                                                 35
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 36 of 45




property, requires a direct transfer of funds, the payment of those funds, followed by a claim for

just compensation, would entail an utterly pointless set of activities, as every dollar paid pursuant

to the state action would be presumed to generate a dollar of compensation.               When the

challenged conduct relates to an alleged taking of money, declaratory and injunctive relief

against the taking is proper.

        113.   Plaintiffs are accordingly entitled to declaratory and injunctive relief barring the

Superintendent from exercising the powers established by the 2017 Emergency Regulation.

                                              COUNT IV

            ILLEGAL EXACTION 2017 EMERGENCY REGULATION
                                          -




      FIFTH AND FOURTEENTH AMENDMENTS OF TIlE U.S. CONSTITUTION

        114.   The allegations contained in paragraphs 1 through 113 are incorporated by

reference herein.

        115.   An illegal exaction involves a deprivation of property without due process of law,

in violation of the Due Process Clause of the Fifth Amendment to the Constitution, made

applicable to the states through the fourteenth Amendment. Monetary exactions are functionally

equivalent to other types of land use exactions. An illegal exaction can arise out of Government

action that requires or would require the payment to it of money that was improperly exacted or

taken from the claimant in contravention of the Constitution, a statute, or a regulation. The

doctrine of illegal exaction may be applied against states, in addition to the federal government.

       116.    fifth Amendment taking claims and illegal exaction claims are two sides of the

same coin: taking claims are based upon authorized actions by government officials, whereas

illegal extraction claims are based upon unauthorized actions of government officials. Counts III

and IV are therefore pleaded in the alternative.




                                                   36
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 37 of 45




        117.    The 2017 Emergency Regulation unlawfully conditions Plaintiffs’ participation in

the New York small group insurance market on the relinquishment of federal funds apportioned

to it under the HHSadministered risk adjustment program. The Superintendent’s exercise of her

authority under the 2017 Emergency Regulation would operate as an illegal exaction because it

provides for the unauthorized taking from Plaintiffs of money owed to them under the federal

risk adjustment program.

                                             COUNT V

         VIOLATION Of 42 U.S.C. § 1983           -   2017 EMERGENCY REGULATION

        11$.    The allegations contained in paragraphs 1 through 117 are incorporated by

reference herein.

        119.    This action is brought against Defendant in her official capacity as Superintendent

of the Department of Financial Services of the State of New York, to prevent her jitter alia from

enforcing the 2017 Emergency Regulation that violates the Fifth and Fourteenth Amendments of

the U.S. Constitution.

        120.    42 U.S.C.   § 1983 provides a cause of action for violations of these constitutional
provisions by a person acting under color of state law.

       121.     By implementing and enforcing the 2017 Emergency Regulation, Defendant is

depriving Plaintiffs of their rights under the federal Affordable Care Act and the United States

Constitution.

                                            COUNT VI

     CONFLICT PREEMPTION PROPOSED 2018 PERMANENT REGULATION
                                      -




             SUPREMACY CLAUSE OF THE U.S. CONSTiTUTION

       122.     The allegations contained in paragraphs 1 through 121 are incorporated by

reference herein.



                                                 37
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 38 of 45




        123.     The Supremacy Clause, U.S. Const. art. VI, ci. 2, provides that the laws of the

United States are “the supreme law of the land.” Federal law supersedes and invalidates state

law when state law or regulations conflict with federal laws (conflict preemption).

        124.     To the extent adopted or otherwise effectuated, the proposed 2018 Permanent

Regulation directly conflicts with the risk adjustment program administered by HHS pursuant to

the ACA.       By explicitly reversing up to 30 percent of payments made under the federal risk

adjustment program, that Regulation directly conflicts with HHS’s fonitula for making payments

to health plans in amounts that HHS has deemed are appropriate to compensate those plans for

having enrollees with higher than average health risks, based upon the risk adjustment

methodology and formula established by HI-IS.

        125.     The proposed 2018 Permanent Regulation directly conflicts with the risk

adjustment program administered by HHS pursuant to the ACA because it purports to modify

and re-write specific elements of the federal formula.

        126.     By explicitly reversing up to 26 percent of payments made under the federal risk

adjustment program, that Regulation directly conflicts with HI-IS’s formula for making payments

to health plans in amounts that HHS has deemed are appropriate to compensate those plans for

having enrollees with higher than average health risks, based upon the risk adjustment

methodology and formula established by HI-IS.

       127.      The proposed 2018 Permanent Regulation also directly conflicts with the ACA

and its regulations regarding the steps a state must take if it wants to displace the HHS risk

adjustment methodology and establish its own methodology, resulting in a different amount of

money being paid to the health plan than would have been paid under the HHS methodology.

Federal regulations require that a state wishing to operate an alternative risk adjustment program




                                                3$
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 39 of 45




must be approved in advance by 1-IRS. 45 C.F.R.        § 153.310(a)(2). This approval must take
place prior to publication of the state’s notice of benefit and payment parameters for the

applicable benefit year. Id.   § 153.310(a)(4). The substantive and procedural requirements for
obtaining approval of a state risk adjustment program are detailed, see ¶T 60—62, supra. New

York has not undertaken, much less fulfilled, any of these steps.

       12$.    The proposed 201$ Permanent Regulation thus directly and openly conflicts with

ACA regulation 45 C.F.R.   § 153.3 10(a)(3), which provides:
              Any State that elects to operate an Exchange but does not elect to
              administer risk adjustment wilt forgo iinpteineiztation of alt State
              functions in this subpail [referencing Subpart D, “State Standards
              Related to the Risk Adjustment Program”], and I-IRS will carry out
              all of the provisions of this subpart on behalf of the State

(emphasis added), as well as 45 C.F.R.   § 153.310(a)(4), which provides:
               Beginning in 2015, any State that is approved to operate an
               Exchange and elects to operate risk adjustment but has not been
              approved by HHS to operate risk adjustment prior to publication
              of its State notice of benefit aitd payment parameters for the
              applicable benefit year, will forgo implementation of alt State
              functions in this subpart, and HHS will carry out all of the
              provisions of this subpart on behalf of the State.

(emphasis added).

       129,    For all of these reasons, the proposed 2018 Permanent Regulation directly

conflicts with the federal regulatory scheme established by the ACA and its regulations to

balance the potential for a disproportionate share of higher health risks and claims costs in the

individual and small group insurance markets, and is therefore preempted.




                                                39
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 40 of 45




                                           COUNT VII

      CONFLICT PREEMPTION PROPOSED 201$ PERMANENT REGULATION
                                      -




              SUPREMACY CLAUSE OF THE U.S. CONSTITUTION

        130.    The allegations contained in paragraphs 1 through 129 are incorporated by

reference herein.

        131.   The Supremacy Clause, U.S. Const. art. VI, cl. 2, provides that the laws of the

United States are “the supreme law of the land.” federal law supersedes and invalidates state

law when state law or regulations interferes with, or frustrates the purposes of, federal laws.

        132.   To the extent adopted or otherwise effectuated, the proposed 201$ Permanent

Regulation interferes with, and frustrates the purposes of, the risk adjustment program

administered by HHS pursuant to the ACA, and is preempted by federal law.              By explicitly

reversing up to 30 percent of payments made under the federal risk adjustment program, the

proposed 2018 Permanent Regulation directly conflicts with the fulfillment of the Government’s

efforts to make payments to health plans in amounts that HHS has deemed are appropriate to

compensate those plans for having enrollees with higher than average health risks, based upon

the risk adjustment methodology established by HHS.

        133.   for these reasons, the proposed 201$ Permanent Regulation interferes with, and

frustrates the purposes of, the federal regulatory scheme established by the ACA and its

regulations to balance risk in the individual and small group insurance markets, and is therefore

preempted.

                                          COUNT VIII

       UNLAWFUL TAKING PROPOSED 201$ PERMANENT REGULATION
                                  -




      FWfH AND FOURTEENTH AMENDMENTS OF THE U.S. CONSTITUTION

       134.    The allegations contained in paragraphs 1 through 133 are incorporated by

reference herein.


                                                40
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 41 of 45




        135.    The Fifth Amendment of the U.S. Constitution prohibits government takings of

private property for public use without just compensation. U.S. Const. amend V.

        136.    The fifth Amendment’s Takings Clause is applied to the States through the

Fourteenth Amendment of the U.S. Constitution. Takings claims under the Fifth and fourteenth

Amendments of the U.S. Constitution may accordingly be brought with respect to governmental

actions by state or local entities.

        137.    Receivers of federal risk adjustment payments under the risk adjustment

mechanism administered by HHS, including Plaintiffs, have an identifiable property interest in

those funds, which are calculated annually and paid pursuant to the risk adjustment formula

created by HHS.

        138.    To the extent adopted or otherwise effectuated, the proposed 2018 Permanent

Regulation, under which the Superintendent may demand that Plaintiffs pay the Department of

Financial Services of the State of New York a substantial portion (up to 30%) of those funds for

the Superintendent to re-distribute to other insurers in the state, is an unconstitutional taking of

Plaintiffs’ property without just compensation.

        139.    As a direct, foreseeable, and proximate result of the Superintendent’s taking of

federal risk adjustment funds to which Plaintiffs are entitled, Plaintiffs will suffer substantial

financial losses.

        140.    While the typical remedy for a governmental taking is just compensation, and a

property owner must ordinarily pursue just compensation under any available state law remedies

before it can claim a violation of the Fifth Amendment by a state or local government, this

doctrine, even where applicable, is only a matter of prudential ripeness, not a jurisdictional bar to

a federal court action.




                                                  41
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 42 of 45




        141.    furthermore, resorting to court remedies for just compensation is not required,

even as a matter of prudential ripeness, when the taking is of money, as opposed to other types of

property. Where the challenged governmental conduct, rather than burdening real or physical

property, requires a direct transfer of funds, the payment of those funds, followed by a claim for

just compensation, would entail an utterly pointless set of activities, as every dollar paid pursuant

to the state action would be presumed to generate a dollar of compensation.               When the

challenged conduct relates to an alleged taking of money, declaratory and injunctive relief

against the taking is proper.

        142.    Plaintiffs are accordingly entitled to declaratory and injunctive relief barring the

Superintendent from exercising the powers established by the proposed 2018 Permanent

Regulation.

                                            COUNT IX
        ILLEGAL EXACTION PROPOSED 2018 PERMANENT REGULATION
                                   -




      FIFTH AND FOURTEENTH AMENDMENTS OF THE U.S. CONSTITUTION

        143.   The allegations contained in paragraphs 1 through 142 are incorporated by

reference herein.

        144.   An illegal exaction involves a deprivation of property without due process of law,

in violation of the Due Process Clause of the Fifth Amendment to the Constitution, made

applicable to the states through the Fourteenth Amendment. Monetary exactions are functionally

equivalent to other types of land use exactions. An illegal exaction can arise out of Government

action that requires or would require the payment to it of money that was improperly exacted or

taken from the claimant in contravention of the Constitution, a statute, or a regulation. The

doctrine of illegal exaction may be applied against states, in addition to the federal government.




                                                42
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 43 of 45




        145.    Fifth Amendment taking claims and illegal exaction claims are two sides of the

same coin: taking claims are based upon authorized actions by government officials, whereas

illegal extraction claims are based upon unauthorized actions of government officials. Counts

VIII and IX are therefore pleaded in the alternative.

        146.    To the extent adopted or otherwise effectuated, the proposed 201$ Permanent

Regulation unlawfully conditions Plaintiffs’ participation in the New York small group and

individual insurance markets on the relinquishment of federal funds apportioned under the HHS

administered risk adjustment program. The SuperintendenCs exercise of her authority under the

proposed 2018 Permanent Regulation would operate as an illegal exaction because it provides

for the unauthorized taking from Plaintiffs of money owed to them under the federal risk

adjustment program.

                                               COUNT X

  VIOLATION OF 42 U.S.C. § 1983            -   PROPOSED 201$ PERMANENT REGULATION

        147.    The allegations contained in paragraphs 1 through 146 are incorporated by

reference herein.

       148.     This action is brought against Defendant in her official capacity as Superintendent

of the Department of Financial Services of the State of New York, to prevent her inter cilia from

enforcing a state regulation that violates the Fifth and Fourteenth Amendments of the U.S.

Constitution.

       149.     42 U.S.C.    § 1983 provides a cause of action for violations of these constitutional
provisions by a person acting under color of state law.

       150.     By implementing and enforcing the proposed 2018 Permanent Regulation,

Defendant is depriving Plaintiffs of their rights under the federal Affordable Care Act and the

United State Constitution.


                                                  43
      Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 44 of 45




                                      PRAYER FOR RELIEF

                In light of the foregoing, Plaintiffs respectfully request the following relief:

         A.     A declaration, pursuant to 28 U.S.C.    § 2201, that the 2017 Emergency Regulation
is invalid because it violates the federal Affordable Care Act and regulations thereunder, 42

U.S.C.   § 1983, and the Supremacy Clause, Fifth Amendment, and fourteenth Amendment of the
United States Constitution, and is preempted by federal law and null and void and unenforceable;

         B.     An injunction barring the Superintendent or those acting in concert with her from

enforcing or exercising the authority established by the 2017 Emergency Regulation and

ordering the Superintendent to withdraw that Regulation;

         C.     A declaration, pursuant to 28 U.S.C.     § 2201, that the proposed 2018 Permanent
Regulation is invalid because it violates the federal Affordable Care Act and regulations

thereunder, 42 U.S.C.    § 1983, and the Supremacy Clause, Fifth Amendment, and Fourteenth
Amendment of the United States Constitution, and is preempted by federal law and null and void

and unenforceable;

         D.     An injunction barring the Superintendent or those acting in concert with her from

enforcing or exercising the authority established by the proposed 2018 Permanent Regulation

and ordering the Superintendent to withdraw that Regulation;

         B.     An order awarding Plaintiffs’ reasonable costs and attorneys’ fees pursuant to 42

U.S.C.   § 1988; and
         F.     Such other and further relief as the Court deems just and proper.




                                                 44
     Case 1:17-cv-07694-JGK Document 1 Filed 10/06/17 Page 45 of 45




                            Respectfully submitted,

                            /s Jon-Michael Dougherty
                            Steven J. Rosenbaurn
                            Jon-Michael Dougherty
                            COVINGTON & BURLING LLP
                            One City Center
                            850 Tenth Street N.W.
                            Washington, DC 20001-4956
                            Tel: (202) 662-5568
                            Fax: (202) 778-5568
                            srosenbaum@cov.com
                            jdougherty@cov.com

                            Attorneys for Plaintiffs

Dated: October 6, 2017




                                      45
